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RICT OF NEW YORK
SOUTHERN DISTRIC DATE FILED: 72

UNITED STATES SECURITIES AND EXCHANGE -
COMMISSION, 03 Civ. 2742 (JGK)

 

Plaintiff, ORDER

- against -

DAVID A. ZWICK, TODD J. COHEN, and
TERRENCE J. O’DONNELL,

Defendants.

 

JOHN G. KOELTL, District Judge:
The plaintiff is requested to provide the Court promptly

with another copy of Plaintiff’s Exhibit 154A.

SO ORDERED.

Dated: New York, New York bbe Q

February 13, 2007
John G. Koeltl
United States District Judge

 
